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                               EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                  Plaintiffs,

         v.
                                                           Civil Action No. 1:25-cv-00196
  ROBERT F. KENNEDY, JR., in his official
  capacity as SECRETARY OF THE U.S.
  DEPARTMENT OF HEALTH & HUMAN
  SERVICES, et al.,

                  Defendants.


                                DECLARATION OF JOHN J. HOWARD

 I, John J. Howard, declare as follows pursuant to 28 U.S.C. § 1746:

        1.       I am the Director of the National Institute for Occupational Safety and Health

 (NIOSH), which is the federal agency responsible for conducting research, providing services,

 and making recommendations for the prevention of work-related injury and illness. In this

 capacity, I oversee all of NIOSH’s activities. I make this declaration based on personal

 knowledge and information provided to me in the course of my official duties.

        2.       On April 1, 2025, the U.S. Department of Health and Human Services (HHS)

 notified selected non-bargaining unit employees from NIOSH that, pursuant to a planned agency

 Reduction in Force (RIF), they would be separated from HHS at the close of business on June 2,

 2025. Also on April 1, 2025, selected bargaining unit employees from NIOSH received an

 “intent to RIF” notice, and on May 2, 2025, HHS notified those bargaining unit employees that,

 pursuant to a planned agency RIF, they would be separated from HHS at the close of business on

 July 2, 2025.



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        3.      Subsequently, HHS determined that the RIF notices for more than three hundred

 NIOSH employees should be revoked. These employees were provided notice from HHS on

 May 13, 2025, that they would not be affected by the upcoming RIF.

        4.      Employees subject to the RIF revocation are in the following NIOSH Offices,

 Divisions, and Branches:

                   the Office of the Director and the Office of the Deputy Director for

                    Management, including the Facilities Management Office and the Fiscal

                    Resources Management Office;

                   the Division of Compensation Analysis and Support;

                   the Respiratory Health Division, including the Field Studies Branch and the

                    Surveillance Branch;

                   the Division of Safety Research, including the Analysis and Field Branch,

                    Protective Technology Branch, and Surveillance and Field Investigations

                    Branch;

                   the Division of Field Studies and Engineering, including the Hazard

                    Evaluations and Technical Assistance Branch; and

                   the National Personal Protective Technology Laboratory, including the

                    Conformity Verification and Standards Development Branch, the Research

                    Branch, and Evaluation and Testing Branch.

        5.      Employees in the Respiratory Health Division, including the Field Studies Branch

 and the Surveillance Branch, will aid in restoring functionality to the Coal Miner Health

 Surveillance Program.




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        6.      Employees in the Division of Safety Research, including the Analysis and Field

 Branch, Protective Technology Branch, and Surveillance and Field Investigations Branch; and

 the Division of Field Studies and Engineering, including the Hazard Evaluations and Technical

 Assistance Branch, will aid in restoring functionality to the Fire Fighter Fatality Investigation

 and Prevention Program, the National Firefighter Registry for Cancer, and the Health Hazard

 Evaluation Program.

        7.      Employees in the National Personal Protective Technology Laboratory, including

 the Conformity Verification and Standards Development Branch, the Research Branch, and

 Evaluation and Testing Branch, will aid in restoring functionality to the NIOSH certification

 program for respirators and personal protective equipment and will resume the processing of

 applications for new respiratory protective equipment.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief.

 Executed on May 16, 2025



                                               _______________________________
                                               John J. Howard, MD, MPH, JD, LLM, MBA
                                               Director, National Institute for Occupational Safety
                                                       and Health
                                               U.S. Department of Health and Human Services




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